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Local AO 442 (Rev. 10/I1) Arrest Warrant

 

RECEIVED
UNITED STATES DISTRICT COURYTED STATES MARSHALS
DISTRICT OF NORTH DAKOTA M AR 0 4 2020

DISTRICT OF NORTH DAKOTA
United States of America

 

 

v. )
Jariah Jade Danks Case No. 1:20-cr-060-06
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Jariah Jade Danks ;

who is accused of an offense or violation based on the following document filed with the court:

@M Indictment O Superseding Indictment Ol Information © Superseding Information Complaint
O Probation Violation Petition C1 Supervised Release Violation Petition O Violation Notice Order of the Court

This offense is briefly described as follows:

Conspiracy to Distribute and Possess with Intent to Distribute Oxycodone
Possession of Oxycodone with Intent to Distribute
Aiding and Abetting

 

 

 

 

 

 

Date: _ 03/05/2020 /s/ Renee Hellwig
Issuing officer’s signature
City and state: Bismarck, ND Renee Hellwig, Deputy Clerk
Printed name and title
Return
This warrant was received on (date). 3 [4 | 2024 _ , and the person was arrested on (date) 72D
at (city and state) GC, SMe Oe ra .
~ +
Date: 3 2D (A—~T o—

 

Arresting officer's signature

CHAO T: CAILTEX , ¢| A
Printed name and title A A i Re dD poe

 

 
